Case 3:24-cv-00526-ART-CSD Document 6

Filed 11/20/24 Page 1 of 2

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

NORTHERN DIVISION
DREW RIBAR, PLAINTIFF, Civil Action No. | 3:24-cy-00526
Plaintiff,

VS.

WASHOE COUNTY, NEVADA; WASHOE
COUNTY LIBRARY SYSTEM; BUILD OUR
CENTER, INC.; JEFF SCOTT; STACY
MCKENZIE; JONNICA BOWEN; LIBRARY
EMPLOYEE DOE #1; JENNIFER COLE;
DEPUTY C. ROTHKIN (BADGE #4696);
DEPUTY R. SAPIDA (BADGE #4663); SGT.
GEORGE GOMEZ (BADGE #4066); AND
JOHN/JANE DOES 1-10,,

Defendant

_Filed __ Received Entered __ Served On
Counsel/Parties of Record

NOV 2 0 2024

Clerk US District Court
District cf Nevada
By: ______—_—«— Deputy

SUMMONS IN A CIVIL ACTION

To: DEPUTY R. SAPIDA (BADGE #4663)

Washoe County Sheriff
911 Parr Bivd.

Reno NV 89512

A lawsuit has been filed against you. Within 21 days after service of this summons on you
(not counting the day you received it) — or 60 days if you are the United States or a United
States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must
be served on the plaintiff or plaintiff's attorney, whose name and address are:

DrewDrew J. Ribar

3480 Pershing Ln

Washoe Valley NV 89704
775-223-7899
Const2Audit@gmail.com

Case 3:24-cv-00526-ART-CSD Document6- Filed 11/20/24 Page 2 of 2

Pro Se

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

NOV 20 2025

Date:

‘ite

un

